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                     Exhibit 1-00
           Evidence Packet in Support of Defendant’s Motions for Summary Judgment


            U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                     Exhibit 1MM
                                                        White Decl. ISO Disney's SJ Motion P.0720
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                                                                                            Exhibit 1MM
                                                               White Decl. ISO Disney's SJ Motion P.0721
